             Case 1:20-cv-05155-PAE Document 58 Filed 10/27/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JANE DOE,

                                          Plaintiff,                      20 Civ. 5155 (PAE)
                           -v-
                                                                             ORDER OF
 INSTITUTE FOR FAMILY HEALTH; FAMILY                                     DISCONTINUANCE
 HEALTH CENTER OF HARLEM; DR. YU LIN NGU;
 JOHN PFAIL,

                                          Defendants.


PAUL A. ENGELMAYER, District Judge:

           The Court having been advised by the parties that all claims as between plaintiff and

defendants Dr. Yu Lin Ngu and John Pfail have been settled in principle, Dkt. 57, it is

ORDERED that the above-entitled action is hereby dismissed and discontinued without costs,

and without prejudice to plaintiff’s right to reopen the action within thirty days of the date of this

Order if the settlement is not consummated.

           To be clear, any application to reopen must be filed within thirty days of this Order; any

application to reopen filed thereafter may be denied solely on that basis. Further, if the parties

wish for the Court to retain jurisdiction for the purposes of enforcing any settlement agreement,

they must submit the settlement agreement to the Court within the same thirty-day period to be

“so ordered” by the Court. Per Paragraph 4(C) of the Court’s Individual Rules and Practices for

Civil Cases, unless the Court orders otherwise, the Court will not retain jurisdiction to enforce a

settlement agreement unless it is made part of the public record.

           The Clerk of Court is respectfully directed to terminate Dr. Yu Lin Ngu and John Pfail as

parties.
        Case 1:20-cv-05155-PAE Document 58 Filed 10/27/21 Page 2 of 2




      SO ORDERED.


                                               PaJA.�
                                          __________________________________
                                                PAUL A. ENGELMAYER
                                                United States District Judge
Dated: October 27, 2021
       New York, New York




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